






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00469-CV






Walter Lee Hall, Jr., Appellant


v.


HSBC Mortgage Services, Inc., its Successors and Assigns, Appellee






FROM THE COUNTY COURT AT LAW NO. 2 OF TRAVIS COUNTY

NO. C-1-CV-07-010279, HONORABLE ERIC SHEPPERD, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant Walter Lee Hall, Jr., who is representing himself pro se, filed his notice of
appeal in July 2008.  In December 2008, we sent Hall notice that his brief was overdue.  Rather than
filing a brief that complied with the rules of appellate procedure, Hall filed a "motion for summary
disposition of the appeal," as well as supplemental and reply filings.  On May 28, 2009, we sent Hall
notice that his brief was overdue and that he had until June 29 to file a brief.  We also informed Hall
that he was required to file a motion for extension of time to file his notice of appeal, in conformance
with rules 10.5 and 26.3, and that the motion was due no later than June 11.  We informed Hall that
if he did not timely file the two required documents, we would dismiss the appeal.  To date, Hall has
not responded to our requests.  We therefore dismiss the appeal for want of prosecution.  Tex. R.
App. P. 42.3(b).

				


					__________________________________________

					David Puryear, Justice

Before Justices Patterson, Puryear and Pemberton

Dismissed for Want of Prosecution

Filed:   August 13, 2009


